             Case 2:23-cv-01495-JHC Document 272 Filed 08/23/24 Page 1 of 5




 1
                                                   THE HONORABLE JOHN H. CHUN
 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8

 9

10   FEDERAL TRADE COMMISSION, et al.,            CASE NO.: 2:23-cv-01495-JHC

11                    Plaintiffs,                 PLAINTIFFS’ NOTICE OF
                                                  SUPPLEMENTAL AUTHORITY
12
                 v.
13
     AMAZON.COM, INC., a corporation,
14

15                    Defendant.

16

17

18

19

20

21

22

23

24
     PLAINTIFFS’ NOTICE OF                              FEDERAL TRADE COMMISSION
     SUPPLEMENTAL AUTHORITY                                 600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                    Washington, DC 20580
                                                                          (202) 326-2222
              Case 2:23-cv-01495-JHC Document 272 Filed 08/23/24 Page 2 of 5




 1          Pursuant to W.D. Wash. LCR 7(n), Plaintiffs submit for the Court’s consideration as

 2 supplemental authority in support of their opposition to Amazon’s motion to dismiss (Dkt. #149)

 3 the attached recently issued decision in District of Columbia v. Amazon.com, Inc., __ A.3d __,

 4 No. 22-cv-0657 (D.C. Aug. 22, 2024). The parties have agreed that the District of Columbia case

 5 involves all or a material part of the same subject matter and all or substantially the same parties

 6 as this action. JSR at 39 (Dec. 15, 2023), Dkt. #135. The District of Columbia Court of Appeals

 7 held that the District alleged sufficient facts to overcome Amazon’s motion to dismiss, including

 8 by plausibly alleging anticompetitive effects from the Amazon policies challenged in the

 9 District’s complaint. District of Columbia, slip op. at 15-19, 23-24. The Court of Appeals

10 therefore reversed the trial court’s dismissal of the District’s complaint.

11

12
     Dated: August 23, 2024                       Respectfully submitted,
13
                                                  s/ Colin M. Herd
14                                                SUSAN A. MUSSER (DC Bar # 1531486)
                                                  EDWARD H. TAKASHIMA (DC Bar # 1001641)
15                                                COLIN M. HERD (NY Reg. # 5665740)

                                                  Federal Trade Commission
16                                                600 Pennsylvania Avenue, NW
                                                  Washington, DC 20580
17                                                Tel.: (202) 326-2122 (Musser)
                                                         (202) 326-2464 (Takashima)
18                                                Email: smusser@ftc.gov
                                                         etakashima@ftc.gov
19                                                       cherd@ftc.gov

                                                  Attorneys for Plaintiff Federal Trade Commission
20

21

22

23

24
      PLAINTIFFS’ NOTICE OF                                           FEDERAL TRADE COMMISSION
      SUPPLEMENTAL AUTHORITY - 1                                          600 Pennsylvania Avenue, NW
      No. 2:23-cv-01495                                                          Washington, DC 20580
                                                                                        (202) 326-2222
             Case 2:23-cv-01495-JHC Document 272 Filed 08/23/24 Page 3 of 5




 1 s/ Michael Jo                                   s/ Timothy D. Smith
   Michael Jo (admitted pro hac vice)              Timothy D. Smith, WSBA No. 44583
 2 Assistant Attorney General, Antitrust Bureau    Senior Assistant Attorney General
   New York State Office of the Attorney           Antitrust and False Claims Unit
 3 General                                         Oregon Department of Justice
   28 Liberty Street                               100 SW Market St
 4 New York, NY 10005                              Portland, OR 97201
   Telephone: (212) 416-6537                       Telephone: (503) 934-4400
 5 Email: Michael.Jo@ag.ny.gov                     Email: tim.smith@doj.state.or.us
   Counsel for Plaintiff State of New York         Counsel for Plaintiff State of Oregon
 6
   s/ Rahul A. Darwar                              s/ Jennifer A. Thomson
 7 Rahul A. Darwar (admitted pro hac vice)         Jennifer A. Thomson (admitted pro hac vice)
   Assistant Attorney General                      Senior Deputy Attorney General
 8 Office of the Attorney General of Connecticut   Pennsylvania Office of Attorney General
   165 Capitol Avenue                              Strawberry Square, 14th Floor
 9 Hartford, CT 06016                              Harrisburg, PA 17120
   Telephone: (860) 808-5030                       Telephone: (717) 787-4530
10 Email: Rahul.Darwar@ct.gov                      Email: jthomson@attorneygeneral.gov
   Counsel for Plaintiff State of Connecticut      Counsel for Plaintiff Commonwealth of
11                                                 Pennsylvania
   s/ Alexandra C. Sosnowski
12 Alexandra C. Sosnowski (admitted pro hac        s/ Michael A. Undorf
   vice)                                           Michael A. Undorf (admitted pro hac vice)
13 Assistant Attorney General                      Deputy Attorney General
   Consumer Protection and Antitrust Bureau        Delaware Department of Justice
14 New Hampshire Department of Justice             820 N. French St., 5th Floor
   Office of the Attorney General                  Wilmington, DE 19801
15 One Granite Place South                         Telephone: (302) 683-8816
   Concord, NH 03301                               Email: michael.undorf@delaware.gov
16 Telephone: (603) 271-2678                       Counsel for Plaintiff State of Delaware
   Email: Alexandra.c.sosnowski@doj.nh.gov
17 Counsel for Plaintiff State of New Hampshire    s/ Christina M. Moylan
                                                   Christina M. Moylan (admitted pro hac vice)
18 s/ Caleb J. Smith                               Assistant Attorney General
   Caleb J. Smith (admitted pro hac vice)          Chief, Consumer Protection Division
19 Assistant Attorney General                      Office of the Maine Attorney General
   Consumer Protection Unit                        6 State House Station
20 Office of the Oklahoma Attorney General         Augusta, ME 04333-0006
   15 West 6th Street, Suite 1000                  Telephone: (207) 626-8800
21 Tulsa, OK 74119                                 Email: christina.moylan@maine.gov
   Telephone: (918) 581-2230                       Counsel for Plaintiff State of Maine
22 Email: caleb.smith@oag.ok.gov
   Counsel for Plaintiff State of Oklahoma
23

24
     PLAINTIFFS’ NOTICE OF                                      FEDERAL TRADE COMMISSION
     SUPPLEMENTAL AUTHORITY - 2                                     600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                     Washington, DC 20580
                                                                                  (202) 326-2222
            Case 2:23-cv-01495-JHC Document 272 Filed 08/23/24 Page 4 of 5




 1 s/ Gary Honick                                 s/ Lucas J. Tucker
   Gary Honick (admitted pro hac vice)            Lucas J. Tucker (admitted pro hac vice)
 2 Assistant Attorney General                     Senior Deputy Attorney General
   Deputy Chief, Antitrust Division               Office of the Nevada Attorney General
 3 Office of the Maryland Attorney General        100 N. Carson St.
   200 St. Paul Place                             Carson City, NV 89701
 4 Baltimore, MD 21202                            Telephone: (775) 684-1100
   Telephone: (410) 576-6474                      Email: LTucker@ag.nv.gov
 5 Email: Ghonick@oag.state.md.us                 Counsel for Plaintiff State of Nevada
   Counsel for Plaintiff State of Maryland
 6                                                s/ Ana Atta-Alla
   s/ Michael Mackenzie                           Ana Atta-Alla (admitted pro hac vice)
 7 Michael Mackenzie (admitted pro hac vice)      Deputy Attorney General
   Deputy Chief, Antitrust Division               New Jersey Office of the Attorney General
 8 Office of the Massachusetts Attorney General   124 Halsey Street, 5th Floor
   One Ashburton Place, 18th Floor                Newark, NJ 07101
 9 Boston, MA 02108                               Telephone: (973) 648-3070
   Telephone: (617) 963-2369                      Email: Ana.Atta-Alla@law.njoag.gov
10 Email: michael.mackenzie@mass.gov              Counsel for Plaintiff State of New Jersey
   Counsel for Plaintiff Commonwealth of
11 Massachusetts                                  s/ Jeffrey Herrera
                                                  Jeffrey Herrera (admitted pro hac vice)
12 s/ Scott A. Mertens                            Assistant Attorney General
   Scott A. Mertens (admitted pro hac vice)       New Mexico Office of the Attorney General
13 Assistant Attorney General                     408 Galisteo St.
   Michigan Department of Attorney General        Santa Fe, NM 87501
14 525 West Ottawa Street                         Telephone: (505) 490-4878
   Lansing, MI 48933                              Email: jherrera@nmag.gov
15 Telephone: (517) 335-7622                      Counsel for Plaintiff State of New Mexico
   Email: MertensS@michigan.gov
16 Counsel for Plaintiff State of Michigan        s/ Zulma Carrasquillo-Almena
                                                  Zulma Carrasquillo (admitted pro hac vice)
17 s/ Zach Biesanz                                Assistant Attorney General
   Zach Biesanz (admitted pro hac vice)           Antitrust Division
18 Senior Enforcement Counsel                     Puerto Rico Department of Justice
   Office of the Minnesota Attorney General       P.O. Box 9020192
19 445 Minnesota Street, Suite 1400               San Juan, Puerto Rico 00901-0192
   Saint Paul, MN 55101                           Telephone: (787) 721-2900
20 Telephone: (651) 757-1257                      Email: zcarrasquillo@justicia.pr.gov
   Email: zach.biesanz@ag.state.mn.us             Counsel for Plaintiff Commonwealth of Puerto
21 Counsel for Plaintiff State of Minnesota       Rico

22

23

24
     PLAINTIFFS’ NOTICE OF                                     FEDERAL TRADE COMMISSION
     SUPPLEMENTAL AUTHORITY - 3                                    600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                    Washington, DC 20580
                                                                                 (202) 326-2222
            Case 2:23-cv-01495-JHC Document 272 Filed 08/23/24 Page 5 of 5




 1 s/ Stephen N. Provazza
   Stephen N. Provazza (admitted pro hac vice)
 2 Special Assistant Attorney General
   Chief, Consumer and Economic Justice Unit
 3 Department of the Attorney General
   150 South Main Street
 4 Providence, RI 02903
   Telephone: (401) 274-4400
 5 Email: sprovazza@riag.ri.gov
   Counsel for Plaintiff State of Rhode Island
 6
   s/ Sarah L. J. Aceves
 7 Sarah L. J. Aceves (admitted pro hac vice)
   Assistant Attorney General
 8 Vermont Attorney General’s Office
   109 State Street
 9 Montpelier, VT 05609
   Telephone: (802) 828-3170
10 Email: sarah.aceves@vermont.gov
   Counsel for Plaintiff State of Vermont
11
   s/ Laura E. McFarlane
12 Laura E. McFarlane (admitted pro hac vice)
   Assistant Attorney General
13 Wisconsin Department of Justice
   Post Office Box 7857
14 Madison, WI 53707-7857
   Telephone: (608) 266-8911
15 Email: mcfarlanele@doj.state.wi.us
   Counsel for Plaintiff State of Wisconsin
16

17

18

19

20

21

22

23

24
     PLAINTIFFS’ NOTICE OF                            FEDERAL TRADE COMMISSION
     SUPPLEMENTAL AUTHORITY - 4                           600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                           Washington, DC 20580
                                                                        (202) 326-2222
